Case 1:05-cv-01083-.]DT-STA Document 22 Filed 05/03/05 Page 1 of 5 P_ ?e|D 10

IN THE UNITED STATES DISTRICT COURT 05/‘!4},

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CHARLES R. DAILEY, SR., and €”"50,;./»"

wife, LINDA L. DAILEY,
Plaintiffs,
VS. No. 05-1083-T/An

MERCK & CO., INC., ET AL.,

Defendants.

 

ORDER GRANTING MOTION TO STAY

 

Plaintiffs Charles R. Dailey and Linda L. Dailey filed this action in the Circuit Court
of Weakley County, Tennessee, on February 17, 2005, against Merck and Company, lnc.,
maker of the prescription drug known as Vioxx. Plaintiffs also named as defendants certain
local Merck sales representatives and pharmacists Merck removed the action to this Court
on March 21 , 2005, on the basis of diversity of citizenship, contending that the non-diverse
defendants Were fraudulently joined in an attempt to defeat diversity jurisdiction

On March 29, 2005, Merck filed a motion to stay all further proceedings pending a
decision by the Judicial Panel on Multidistrict Litigation (“MDL Panel”) on whether this
case should be transferred to the United States District Court for the Eastern District of

Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product 1

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Case 1:05-cv-01083-.]DT-STA Document 22 Filed 05/03/05 Page 2 of 5 Page|D 11

Liabili§; Litigation. Plaintiffs filed a motion to remand the action to state court on April 20,
2005.

The MDL Panel issued the first Transfer Order establishing MDL-1657 on February
16, 2005. In that order, the Panel stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastem District of Missouri, as well as in any other MDL-1657 actions can be

presented to and decided by the transferee judge. See, e.g., In re Ivy, 901 F.2d

7 (2d Cir. 1990); In re Prudemz'al Insurance Company of Amerz‘ca Sales

Practz`ces Litigation, 170 F. Supp. 2d 1346, 1347-48 (J'.P.M.L. 2001).

Transfer Order, at 2 (J.P.M.L. Feb. 16, 2005).

Notwithstanding the MDL Panel’s statement regarding pending motions to remand,
plaintiffs assert that the Court should deny the motion to stay and promptly consider the
motion to remand. Plaintiffs contend that this Court is better suited to rule on the motion
to remand because it is more familiar with Tennessee and Sixth Circuit law than the
Louisiana transferee court. Plaintiffs also contend that if the motion to remand is deferred,
the case will “languish” in the MDL proceeding with hundreds of other cases.

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiffs’ motion to remand. § JPML R. 1.5. The decision whether
to grant a stay is within the inherent power of the Court and is discretionary _S__e§ Landis v.

North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

Case 1:05-cv-01083-.]DT-STA Document 22 Filed 05/03/05 Page 3 of 5 Page|D 12

v. Merck & Co. lnc., No. l:04CV2044-JDT-TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has

been filed. E_.g_, Anderson v. Merck & Co. lnc., No. 4:05-cv-89 (E.D. Mo. Mar. 16, 2005);

 

McCrerey v. Merck & Co., Inc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

& Co. lnc., No. 05-0121 (S.D. Tex. Feb. 23, 2005).

 

There are several other Vioxx cases already pending in this district, and hundreds
more in other districts. In many of those cases, the joinder of non-diverse defendants is
contested and motions to remand have been or will be filed. Thus, the jurisdictional issues
raised in this case are similar to those raised in other cases that have been or will be
transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding will
promote judicial economy and conserve judicial resources. In addition, the Court finds that
any prejudice to the plaintiffs resulting fi'om a stay would be minimal. However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

For the foregoing reasons, Merck’ s motion to stay pending the MDL Panel’ s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

IT IS SO ORDERED.

 

   

ED sTATEs DISTRICT JUDGE
DATE ;l /71/¢5# WS/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
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US DISTRICT COURT

Filed 05/03/05 Page 5 of 5 Page|D 14

